
WOOD, J.
We see no error in these proceedings. A simple statement of the facts will show that these transcripts were properly admitted. The security was claimed to be a recognizance of the defendant, and all the judicial proceedings were according to the laws of the state where the obligation was entered into; and were but continued efforts to obtain satisfaction of tbe defendant’s debt. Does it lie in his mouth to say, he was not privy to the record? We think it does not. The revival of the judgment and the supply of the record, after it was burnt, by scire facias, was according to the laws of Pennsylvania, and although the writ was not personally served on Poorman, yet that was done, which under the laws of that state was equivalent to service and appearance. We incline to the opinion the only error committed was one favorable to the plaintiff in error, that of declaring the transcripts only prima facie evidence of the facts set forth in the record. They were conclusive evidence of these facts.
Let the' judgment be affirmed with costs.
